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                                    APPENDIX A

             Invoice Date   Net Amount       Invoice #      Posting Date
             07/28/2004        72,265.73     MF147-02        07/30/2004
             08/05/2004        56,624.00     MF160-01        08/27/2004
             08/05/2004        70,165.61     MF157-01        08/30/2004
             08/10/2004        92,261.24     MF166-01        08/30/2004
             08/10/2004       126,700.16     MF158-01        08/30/2004
             08/13/2004         4,615.50     MF144-03        08/20/2004
             08/13/2004        11,875.59     MF144-03        08/20/2004
             08/13/2004        11,875.59     MF144-03        08/20/2004
             08/16/2004        (4,694.31)    MF151-02        08/27/2004
             08/16/2004        77,552.06     MF151-02        08/27/2004
             08/18/2004        42,412.41     MF173-01        08/27/2004
             08/20/2004       159,055.88     MF146-01        08/30/2004
             08/25/2004         5,234.47     MF143-03        08/30/2004
             08/25/2004        32,706.63    MF146A-01        08/30/2004
             08/25/2004         9,207.16     MF143-03        08/30/2004
             08/25/2004        10,026.12     MF143-03        08/30/2004
             08/27/2004         3,095.01     MF153-03        08/30/2004
             08/27/2004        82,256.26     MF164-01        08/30/2004
             08/27/2004         4,597.68     MF153-03        08/30/2004
             08/27/2004         5,990.44     MF153-03        08/30/2004
             08/30/2004        89,457.10     MF145-02        08/30/2004
             08/30/2004        11,155.30     MF124-03        08/30/2004
             08/31/2004         2,104.38      000655         08/30/2004
             09/02/2004        80,276.20     MF155-02        09/07/2004
             09/08/2004         2,747.26     MF15403         09/16/2004
             09/08/2004        24,448.27     MF17201         09/16/2004
             09/08/2004         7,988.88     MF15403         09/16/2004
             09/08/2004        20,721.75     MF17202         10/05/2004
             09/10/2004           695.25     MF14803         09/16/2004
             09/10/2004        81,599.87     MF17101         09/16/2004
             09/10/2004        15,273.23     MF14803         09/16/2004
             09/15/2004        35,573.32     MF159-02        08/31/2004
             09/16/2004         1,203.76     MF14703         10/05/2004
             09/16/2004        15,396.99     MF14703         10/05/2004
             09/23/2004       170,558.24     MF17901         10/05/2004
             09/24/2004        19,251.52     MF15103         10/05/2004
             09/27/2004        67,950.47     MF16102         10/05/2004
             09/29/2004        61,743.69     MF16002         10/05/2004




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             Invoice Date   Net Amount           Invoice #   Posting Date
             09/30/2004        48,481.07         MF17302     10/05/2004
             09/30/2004         1,753.70          000673     11/01/2004
             09/30/2004        11,084.94          000672     11/01/2004
             10/05/2004       164,870.46         MF18101     10/15/2004
             10/05/2004       169,164.69         MF17401     10/15/2004
             10/06/2004       172,602.08         MF16901     10/15/2004
             10/08/2004        74,097.23         MF157-02    10/05/2004
             10/14/2004       171,305.42         MF17701     11/01/2004
             10/19/2004        87,479.23         MF16402     11/01/2004
             10/22/2004        91,616.09         MF182-01    11/15/2004
             10/22/2004       164,766.53         MF176-01    11/15/2004
             10/26/2004          337.43           000693     11/19/2004
             10/26/2004          428.61           000691     11/19/2004
             10/26/2004          948.87           000689     11/19/2004
             10/26/2004         1,019.74          000692     11/19/2004
             10/26/2004         1,491.37          000690     11/19/2004
             10/26/2004         9,436.13          000688     01/04/2005
             10/27/2004        94,400.88         MF180-01    11/15/2004
             10/29/2004         1,864.92         MF16602     01/04/2005
             10/29/2004        10,251.25         MF16602     01/04/2005
             11/01/2004         4,603.45         MF146A02    11/19/2004
             11/01/2004         3,634.07         MF146A02    11/19/2004
             11/01/2004        11,734.31         MF14602     12/21/2004
             11/01/2004        17,672.87         MF14602     12/21/2004
             11/02/2004         3,724.67         MF14503     11/19/2004
             11/02/2004        19,740.43         MF14503     11/19/2004
             11/05/2004        11,377.09         MF160-03    11/15/2004
             11/05/2004         1,171.87         MF160-03    11/15/2004
             11/05/2004         6,291.56         MF160-03    11/15/2004
             11/05/2004        10,099.27         MF17303     11/19/2004
             11/08/2004          480.15           000703     11/19/2004
             11/08/2004          930.35           000702     12/21/2004
             11/09/2004         1,368.07          000704     11/19/2004
             11/11/2004          837.64           000706     12/21/2004
             11/12/2004         7,962.94          000708     01/04/2005
             11/17/2004         2,804.32         MF158-02    11/15/2004
             11/17/2004        14,077.82         MF158-02    11/15/2004
             11/19/2004         9,679.67         MF157-03    11/15/2004
             11/19/2004         3,864.56         MF157-03    11/15/2004
             11/19/2004         7,796.18         MF157-03    11/15/2004



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             Invoice Date   Net Amount            Invoice #   Posting Date
             11/22/2004         4,253.16           000712     11/30/2004
             11/29/2004         1,881.01          MF164-03    11/15/2004
             11/29/2004        18,859.50          MF164-03    11/15/2004
             12/03/2004         1,663.08          MF172-02    12/14/2004
             12/03/2004       137,365.00          MF184-01    12/14/2004
             12/03/2004         5,018.89          MF172-02    12/14/2004
             12/06/2004       136,829.42          MF18501     01/04/2005
             12/09/2004        (9,921.88)         MF155-03    12/14/2004
             12/09/2004         2,396.76          MF171-02    12/14/2004
             12/09/2004         9,066.65          MF171-02    12/14/2004
             12/09/2004         9,510.72          MF155-03    12/14/2004
             12/09/2004        14,830.99          MF155-03    12/14/2004
             12/09/2004        90,666.53          MF171-02    12/14/2004
             12/10/2004         2,464.36          MF159-03    12/14/2004
             12/10/2004        13,273.30          MF174-02    12/14/2004
             12/10/2004         2,720.40          MF159-03    12/14/2004
             12/10/2004         3,829.37          MF159-03    12/14/2004
             12/10/2004        18,796.08          MF174-02    12/14/2004
             12/10/2004         1,538.98          MF16103     01/04/2005
             12/10/2004         6,780.56          MF16103     01/04/2005
             12/10/2004         7,473.10          MF16103     01/04/2005
             12/10/2004           348.44           000726     01/04/2005
             12/10/2004           534.58           000727     01/04/2005
             12/10/2004         1,475.36           000731     01/04/2005
             12/10/2004           702.74           000733     02/01/2005
             12/10/2004           790.28           000732     02/01/2005
             12/10/2004           604.64           000730     05/03/2005
             12/16/2004         4,023.85          MF16902     01/04/2005
             12/16/2004        19,178.01          MF16902     01/04/2005
             12/17/2004       151,449.64          MF18701     02/01/2005
             12/22/2004         6,853.35          MF17902     05/03/2005
             12/22/2004        18,950.91          MF17902     05/03/2005
             12/28/2004         1,355.84           000744     01/25/2005
             12/28/2004         1,061.88           000745     01/25/2005
             12/30/2004         9,765.42           000746     02/01/2005
             01/07/2005           521.35           000753     01/25/2005
             01/07/2005           555.79          000751A     02/01/2005
             01/07/2005           730.99           000752     02/01/2005
             01/13/2005           406.00           000756     01/25/2005
             01/17/2005         5,189.64          MF17702     01/25/2005



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             Invoice Date   Net Amount           Invoice #   Posting Date
             01/17/2005         8,531.68         MF18102     01/25/2005
             01/17/2005        18,318.94         MF18102     01/25/2005
             01/17/2005        19,033.94         MF17702     01/25/2005
             01/17/2005          378.13          000759      02/01/2005
             01/24/2005         2,000.00         MF18002     02/01/2005
             01/24/2005         9,641.46         MF18002     02/01/2005
             01/26/2005         7,935.00         000771      02/01/2005
             01/26/2005          429.70          000770      02/01/2005
             01/26/2005         2,267.34         000769      02/01/2005
             01/28/2005         1,935.02         000773      02/01/2005
             02/03/2005         3,237.46         MFI8202     02/21/2005
             02/03/2005        10,179.57         MFI8202     02/21/2005
             02/03/2005        92,226.74         MF19001     02/21/2005
             02/03/2005       101,795.66         MFI8202     02/21/2005
             02/07/2005          224.19          000778      02/21/2005
             02/08/2005        13,187.45         MFI7602     02/21/2005
             02/08/2005       201,381.31         MFI7602     02/21/2005
             02/09/2005          201.24          000785      02/21/2005
             02/09/2005          395.82          000786      02/21/2005
             02/09/2005          239.15          000783      02/23/2005
             02/09/2005          694.02          000784      02/23/2005
             02/14/2005       152,906.67         MFI9401     02/21/2005
             02/25/2005          498.29          000789      02/15/2005
             03/03/2005         4,063.39         MF18502     02/02/2005
             03/03/2005         6,323.20         MF18402     02/02/2005
             03/03/2005        15,203.27         MF18502     02/02/2005
             03/03/2005        15,262.78         MF18402     02/02/2005
             03/10/2005          599.25          000799      04/05/2005
             03/11/2005       142,747.88         MF19601     04/05/2005
             03/16/2005        63,976.94         MF18301     04/14/2005
             03/22/2005       118,208.74         MF19701     04/14/2005
             03/29/2005         2,971.10         000813      04/14/2005
             03/30/2005       128,120.29         MF20101     04/14/2005
             04/11/2005           96.29          000829      05/03/2005
             04/11/2005          286.57          000826      05/03/2005
             04/11/2005          357.99          000828      05/03/2005
             04/11/2005          423.59          000827      05/03/2005
             04/11/2005          994.75          000831      05/03/2005
             04/11/2005         4,357.06         000830      05/03/2005
             04/18/2005          357.09          000834      05/03/2005



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             Invoice Date   Net Amount           Invoice #   Posting Date
             04/18/2005          160.80          000835      05/31/2005
             04/19/2005       144,497.08         MF19101     05/31/2005
             04/22/2005       313,277.07         112430      05/20/2005
             04/29/2005          220.66          000843      05/03/2005
             04/29/2005          446.34          000845      05/03/2005
             04/29/2005          456.91          000844      05/03/2005
             04/29/2005          699.92          000842      05/03/2005
             04/29/2005          706.85          000846      05/03/2005
             05/05/2005        36,624.52         MF20601     05/31/2005
             05/05/2005        49,910.49         MF20901     05/31/2005
             05/05/2005        60,651.24         MF20701     05/31/2005
             05/09/2005          437.29          000855      05/31/2005
             05/09/2005          668.75          000854      05/31/2005
             05/09/2005          832.07          000856      05/31/2005
             05/09/2005         1,275.23         000857      05/31/2005
             05/10/2005        46,571.79         MF19801     05/31/2005
             05/10/2005        55,009.51         MF20801     05/31/2005
             05/13/2005          263.16          000864      06/28/2005
             05/13/2005          335.21          000863      06/28/2005
             05/13/2005          567.66          000865      06/28/2005
             05/19/2005       151,971.90         MF21001     06/28/2005
             05/23/2005          546.31          000873      06/28/2005
             05/25/2005         7,890.58         MF19002     05/31/2005
             05/25/2005        10,247.42         MF19002     05/31/2005
             05/26/2005          220.23          000877      06/28/2005
             05/26/2005          251.78          000880      06/28/2005
             05/26/2005          283.37          000879      06/28/2005
             05/26/2005          917.10          000881      06/28/2005
             05/26/2005         2,000.00         000881      06/28/2005
             05/26/2005          676.06          000878      09/28/2005
             05/31/2005         3,511.55         000883      06/28/2005
             06/03/2005         6,979.50         MF19602     06/24/2005
             06/03/2005        15,860.88         MF19602     06/24/2005
             06/10/2005         3,980.44         MF18302     06/24/2005
             06/10/2005         7,108.55         MF18302     06/24/2005
             06/10/2005        10,891.84         MF19702     06/24/2005
             06/10/2005        13,134.30         MF19702     06/24/2005
             06/10/2005          264.41          000888      06/28/2005
             06/10/2005          982.11          000890      06/28/2005
             06/10/2005         1,865.92         000893      06/28/2005



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             Invoice Date   Net Amount           Invoice #   Posting Date
             06/10/2005        11,201.00          000891     06/28/2005
             06/14/2005          443.83           000895     07/05/2005
             06/20/2005         1,756.89          000900     06/28/2005
             06/20/2005        15,841.91          000899     07/06/2005
             06/22/2005       177,800.12         MF21601     07/05/2005
             06/27/2005       121,284.18         MF21201     08/02/2005
             06/28/2005       131,271.60         MF21501     07/05/2005
             06/29/2005          213.38           000914     08/02/2005
             06/29/2005          413.00           000913     08/02/2005
             06/29/2005          523.83           000915     08/02/2005
             06/29/2005         4,163.02          000917     08/02/2005
             06/29/2005         1,044.99          000916     02/28/2006
             06/30/2005         3,501.50         MF19102     07/05/2005
             06/30/2005        16,055.23         MF19102     07/05/2005
             06/30/2005          517.12           000919     08/02/2005
             07/07/2005         1,892.04         MF20602     08/30/2005
             07/07/2005         4,069.39         MF20602     08/30/2005
             07/11/2005          380.25           000924     08/02/2005
             07/11/2005          527.41           000923     08/02/2005
             07/13/2005       181,949.97         MF21801     08/02/2005
             07/14/2005          694.02           000926     08/02/2005
             07/20/2005        62,741.70         MF22401     08/30/2005
             07/20/2005        76,416.79         MF22601     08/30/2005
             07/20/2005        73,773.62         MF22301     01/03/2006
             07/22/2005         6,044.62         MF198-02    07/06/2005
             07/22/2005          706.15           000936     08/30/2005
             07/22/2005          740.34           000937     08/30/2005
             07/22/2005          769.83           000935     08/30/2005
             07/22/2005          836.06           000938     08/30/2005
             07/25/2005          524.40           000939     08/30/2005
             07/26/2005          845.25          MF21002     08/30/2005
             07/26/2005        16,885.77         MF21002     08/30/2005
             08/02/2005        98,034.73         MF22501     01/03/2006
             08/03/2005       153,898.07         MF21701     10/04/2005
             08/08/2005         2,834.32         MF19402     08/30/2005
             08/08/2005        21,457.63         MF19402     08/30/2005
             08/09/2005         4,618.10         MF20102     08/30/2005
             08/09/2005        14,235.59         MF20102     08/30/2005
             08/12/2005        10,206.88         MF18702     08/30/2005
             08/12/2005        16,827.74         MF18702     08/30/2005



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             Invoice Date   Net Amount           Invoice #   Posting Date
             08/22/2005          260.60           000954     10/04/2005
             08/22/2005        23,891.06          000955     10/04/2005
             08/23/2005          188.60           000959     10/04/2005
             08/23/2005         1,150.16          000956     10/04/2005
             08/23/2005         1,571.21          000958     10/04/2005
             08/23/2005         2,360.59          000957     10/04/2005
             08/24/2005       135,633.99         MF23101     10/04/2005
             08/24/2005       163,365.26         MF23201     10/04/2005
             09/15/2005       136,909.56         MF22201     10/04/2005
             09/20/2005          220.66           000985     10/04/2005
             09/20/2005          262.22           000986     10/04/2005
             09/20/2005          313.50           000987     10/04/2005
             09/20/2005        15,977.85         MF21202     10/20/2005
             09/20/2005        28,606.47         MF2090-02   10/20/2005
             09/30/2005          160.43           000998     10/04/2005
             09/30/2005          219.25           000994     10/04/2005
             09/30/2005          289.69           000992     10/04/2005
             09/30/2005          349.31           000995     10/04/2005
             09/30/2005          415.57           000989     10/04/2005
             09/30/2005          473.37           000996     10/04/2005
             09/30/2005          505.42           000997     10/04/2005
             09/30/2005          511.28           000993     10/04/2005
             09/30/2005         1,701.39          000990     10/04/2005
             09/30/2005        29,178.12          001000     10/04/2005
             09/30/2005         1,148.88          000991     11/02/2005
             09/30/2005         1,486.83          000999     11/02/2005
             10/11/2005          485.00          MF22402     11/02/2005
             10/11/2005         7,061.30         MF22402     11/02/2005
             10/21/2005       114,587.18         MF23901     11/29/2005
             10/21/2005       117,202.63         MF22701     11/29/2005
             10/24/2005          811.85           001020     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          811.88           001021     11/02/2005
             10/24/2005          811.88           001023     11/02/2005
             10/24/2005          811.88           001020     11/02/2005
             10/24/2005          810.00           001022     11/29/2005



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             Invoice Date   Net Amount           Invoice #   Posting Date
             10/24/2005          804.38          001024      01/03/2006
             10/24/2005          810.75          001026      01/03/2006
             10/24/2005          811.00          001026      01/03/2006
             10/24/2005          811.00          001026      01/03/2006
             10/24/2005          811.00          001026      01/03/2006
             10/24/2005          811.88          001025      01/03/2006
             10/24/2005          811.88          001027      01/03/2006
             11/08/2005       123,173.78         MF23701     01/03/2006
             11/08/2005       124,864.74         MF19301     01/03/2006
             11/09/2005       180,073.06         MF24401     01/03/2006
             11/10/2005       159,506.00         MF23801     01/03/2006
             11/15/2005       129,268.44         MF24501     01/03/2006
             11/23/2005       130,446.54         MF23601     01/03/2006
             11/28/2005          898.04          MF21702     01/03/2006
             11/28/2005        17,099.79         MF21702     01/03/2006
             11/29/2005       166,896.92         MF24601     01/04/2006
             11/30/2005          188.60          001067      01/03/2006
             11/30/2005          197.57          001064      01/03/2006
             11/30/2005          221.45          001062      01/03/2006
             11/30/2005          254.35          001076      01/03/2006
             11/30/2005          274.61          001063      01/03/2006
             11/30/2005          283.83          001075      01/03/2006
             11/30/2005          344.29          001060      01/03/2006
             11/30/2005          371.82          001070      01/03/2006
             11/30/2005          378.93          001065      01/03/2006
             11/30/2005          402.84          001068      01/03/2006
             11/30/2005          635.11          001058      01/03/2006
             11/30/2005          644.70          001074      01/03/2006
             11/30/2005          662.90          001066      01/03/2006
             11/30/2005          663.75          001077      01/03/2006
             11/30/2005          741.39          001061      01/03/2006
             11/30/2005          742.69          001069      01/03/2006
             11/30/2005          743.30          001071      01/03/2006
             11/30/2005          953.51          001073      01/03/2006
             11/30/2005         1,180.73         001078      01/03/2006
             11/30/2005         1,472.97         001057      01/03/2006
             11/30/2005         1,535.59         001059      01/03/2006
             11/30/2005         8,767.16         001072      01/03/2006
             12/01/2005         2,854.34         MF21802     01/03/2006
             12/01/2005        20,216.66         MF21802     01/03/2006



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             Invoice Date   Net Amount           Invoice #   Posting Date
             12/14/2005        22,154.95         MF254-01    01/20/2006
             12/15/2005         1,267.56         MF226-02    12/23/2005
             12/15/2005         8,490.75         MF226-02    12/23/2005
             12/29/2005        19,755.57         MF216-02    01/04/2006
             12/29/2005        29,887.73         MF216-02    01/04/2006
             12/29/2005          632.50          MF22302     02/28/2006
             12/29/2005         8,197.07         MF22302     02/28/2006
             12/30/2005          157.48           001100     02/28/2006
             12/30/2005          566.73           001103     02/28/2006
             12/30/2005          688.76           001097     02/28/2006
             12/30/2005          804.38           001113     02/28/2006
             12/30/2005          804.38           001120     02/28/2006
             12/30/2005          810.00           001108     02/28/2006
             12/30/2005          810.00           001109     02/28/2006
             12/30/2005          811.88           001105     02/28/2006
             12/30/2005          811.88           001106     02/28/2006
             12/30/2005          811.88           001107     02/28/2006
             12/30/2005          811.88           001110     02/28/2006
             12/30/2005          811.88           001114     02/28/2006
             12/30/2005          811.88           001111     02/28/2006
             12/30/2005          811.88           001119     02/28/2006
             12/30/2005          811.88           001115     02/28/2006
             12/30/2005          811.88           001116     02/28/2006
             12/30/2005          811.88           001118     02/28/2006
             12/30/2005          811.88           001112     02/28/2006
             12/30/2005          811.88           001117     02/28/2006
             12/30/2005         1,008.51          001102     02/28/2006
             12/30/2005         1,098.20          001095     02/28/2006
             12/30/2005         1,546.91          001093     02/28/2006
             12/30/2005         1,723.10          001098     02/28/2006
             12/30/2005         2,103.84          001101     02/28/2006
             12/30/2005         2,749.82          001096     02/28/2006
             12/30/2005         4,664.27          001099     02/28/2006
             12/30/2005         8,909.60          001094     02/28/2006
             01/16/2006         4,602.18         MF225-02    01/23/2006
             01/16/2006        10,892.75         MF225-02    01/23/2006
             01/16/2006        12,983.15         MF220-02    01/23/2006
             01/16/2006        26,021.50         MF220-02    01/23/2006
             01/17/2006       143,253.10         MF252-01    01/25/2006
             01/19/2006        12,643.13          001134     01/31/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             01/20/2006          157.01              001142     02/22/2006
             01/20/2006          188.60              001141     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006          750.00              001139     02/22/2006
             01/20/2006         2,514.53             001140     02/22/2006
             01/20/2006         3,153.07             001144     02/22/2006
             01/20/2006         4,523.42             001143     02/22/2006
             01/20/2006         2,077.18             001145     02/27/2006
             01/20/2006         3,070.52             001211     02/28/2006
             01/24/2006        22,663.77             001148     01/31/2006
             01/26/2006        10,457.85            MF215-02    01/27/2006
             01/26/2006        14,585.73            MF215-02    01/27/2006
             01/27/2006         3,813.17            MF232-02    01/30/2006
             01/27/2006        18,151.70            MF232-02    01/30/2006
             01/27/2006          300.63              001155     01/31/2006
             01/27/2006          630.84              001154     01/31/2006
             01/27/2006          630.84              001153     01/31/2006
             01/27/2006         1,050.95             001157     01/31/2006
             01/27/2006         1,131.37             001156     01/31/2006
             01/27/2006         1,456.06             001158     01/31/2006
             01/27/2006         2,175.36             001160     01/31/2006
             01/27/2006         3,510.07             001160     01/31/2006
             01/27/2006          750.00              001159     02/28/2006
             01/27/2006          750.00              001159     02/28/2006
             01/27/2006          750.00              001159     02/28/2006
             01/27/2006          750.00              001159     02/28/2006
             01/30/2006         4,191.18            MF231-02    01/31/2006
             01/30/2006        15,070.44            MF231-02    01/31/2006
             02/03/2006         4,777.07            MF193-02    01/31/2006
             02/03/2006        13,873.86            MF193-02    01/31/2006
             02/09/2006         6,112.17            MF208-02    02/10/2006
             02/09/2006         6,244.92            MF227-02    02/10/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             02/09/2006         6,739.03            MF207-02    02/10/2006
             02/09/2006         7,272.30            MF208-02    02/10/2006
             02/09/2006        13,022.51            MF227-02    02/10/2006
             02/09/2006        18,818.58            MF207-02    02/10/2006
             02/09/2006         4,926.07            MF222-02    02/15/2006
             02/09/2006        15,212.07            MF222-02    02/15/2006
             02/09/2006       170,670.61            MF251-01    02/28/2006
             02/13/2006         4,441.30            MF243-02    02/15/2006
             02/13/2006         5,249.02            MF245-02    02/15/2006
             02/13/2006        14,363.16            MF245-02    02/15/2006
             02/13/2006        17,334.39            MF243-02    02/15/2006
             02/16/2006       125,844.33            MF248-01    02/22/2006
             02/16/2006         2,461.66            MF25402     02/28/2006
             02/17/2006         2,855.06            MF244-02    02/22/2006
             02/17/2006         3,305.39            MF236-02    02/22/2006
             02/17/2006         4,777.80            MF246-02    02/22/2006
             02/17/2006        14,494.06            MF236-02    02/22/2006
             02/17/2006        18,544.10            MF246-02    02/22/2006
             02/17/2006        20,008.12            MF244-02    02/22/2006
             02/17/2006       136,385.28            MF249-01    02/22/2006
             02/20/2006         6,967.31            MF238-02    02/22/2006
             02/20/2006        12,731.91            MF239-02    02/22/2006
             02/20/2006        13,897.84            MF239-02    02/22/2006
             02/20/2006        17,722.89            MF238-02    02/22/2006
             02/20/2006          209.24              001199     02/28/2006
             02/20/2006          251.78              001196     02/28/2006
             02/20/2006          441.31              001198     02/28/2006
             02/20/2006          567.66              001200     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006          750.00              001197     02/28/2006
             02/20/2006         1,135.33             001195     02/28/2006
             02/20/2006         3,068.07             001194     02/28/2006
             02/20/2006         3,892.37             001193     02/28/2006
             02/20/2006         4,803.56             001193     02/28/2006
             02/20/2006        10,393.85             001192     02/28/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             02/28/2006          261.77              001207     02/28/2006
             02/28/2006          307.80              001205     02/28/2006
             02/28/2006          536.16              001206     02/28/2006
             02/28/2006          635.43              001206     02/28/2006
             02/28/2006          704.60              001208     02/28/2006
             02/28/2006          800.89              001206     02/28/2006
             02/28/2006          878.11              001206     02/28/2006
             02/28/2006          901.58              001203     02/28/2006
             02/28/2006         5,423.78             001204     02/28/2006
             03/02/2006       135,807.68            MF26701     04/04/2006
             03/09/2006          377.20              001213     04/04/2006
             03/09/2006          408.14              001216     04/04/2006
             03/09/2006          504.49              001217     04/04/2006
             03/09/2006          505.57              001215     04/04/2006
             03/09/2006          633.37              001214     04/04/2006
             03/09/2006         1,111.28             001212     04/04/2006
             03/09/2006         1,323.19             001212     04/04/2006
             03/10/2006        24,934.88            MF25202     04/04/2006
             03/15/2006        52,290.87            MF27101     04/04/2006
             03/15/2006       127,461.87            MF26801     04/04/2006
             03/16/2006        16,915.59            MF24902     04/04/2006
             03/16/2006       219,552.20            MF26401     04/04/2006
             03/22/2006        38,998.87            MF27501     04/04/2006
             03/30/2006          264.41              001246     05/02/2006
             03/30/2006          279.26              001250     05/02/2006
             03/30/2006          327.52              001251     05/02/2006
             03/30/2006          555.03              001245     05/02/2006
             03/30/2006          878.96              001255     05/02/2006
             03/30/2006          973.03              001253     05/02/2006
             03/30/2006         1,265.00             001248     05/02/2006
             03/30/2006         1,353.31             001254     05/02/2006
             03/30/2006         1,844.44             001253     05/02/2006
             03/30/2006         2,272.52             001252     05/02/2006
             03/30/2006         2,428.24             001247     05/02/2006
             04/12/2006       130,739.85            MF278-01    05/02/2006
             04/12/2006        44,638.06            MF274-01    05/30/2006
             04/24/2006        25,471.44             001265     05/25/2006
             04/24/2006        30,103.95             001264     05/25/2006
             04/24/2006       134,866.45            MF279-01    05/30/2006
             04/24/2006        13,226.74             001266     11/06/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             04/25/2006          157.48              001275     05/02/2006
             04/25/2006          218.00              001282     05/02/2006
             04/25/2006          254.15              001289     05/02/2006
             04/25/2006          390.77              001285     05/02/2006
             04/25/2006          441.31              001287     05/02/2006
             04/25/2006          460.63              001289     05/02/2006
             04/25/2006          468.09              001278     05/02/2006
             04/25/2006          509.86              001283     05/02/2006
             04/25/2006          540.15              001273     05/02/2006
             04/25/2006          580.09              001280     05/02/2006
             04/25/2006          688.85              001289     05/02/2006
             04/25/2006          694.02              001286     05/02/2006
             04/25/2006          749.94              001281     05/02/2006
             04/25/2006          750.00              001274     05/02/2006
             04/25/2006          750.00              001274     05/02/2006
             04/25/2006          750.00              001274     05/02/2006
             04/25/2006          776.78              001279     05/02/2006
             04/25/2006          874.58              001290     05/02/2006
             04/25/2006          884.46              001289     05/02/2006
             04/25/2006         1,040.06             001273     05/02/2006
             04/25/2006         1,160.55             001273     05/02/2006
             04/25/2006         1,310.28             001284     05/02/2006
             04/25/2006         3,403.51             001288     05/02/2006
             04/25/2006        15,725.06             001291     05/02/2006
             04/25/2006        12,418.13             001277     05/25/2006
             04/25/2006        11,751.98             001271     11/05/2007
             04/25/2006        12,986.83             001272     11/27/2007
             04/28/2006       147,472.54            MF265-01    05/30/2006
             04/30/2006        28,080.87             001295     10/12/2007
             05/02/2006         6,000.00            MF23702     05/30/2006
             05/02/2006         6,951.35            MF25102     05/30/2006
             05/02/2006        10,206.92            MF23702     05/30/2006
             05/02/2006        13,685.98            MF23702     05/30/2006
             05/02/2006        18,963.41            MF25102     05/30/2006
             05/04/2006          142.80              001305     05/25/2006
             05/04/2006          499.83              001301     05/25/2006
             05/04/2006          719.33              001300     05/25/2006
             05/04/2006          719.61              001303     05/25/2006
             05/04/2006          735.77              001300     05/25/2006
             05/04/2006          811.84              001300     05/25/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             05/04/2006         2,449.50             001302     05/25/2006
             05/04/2006         3,491.42             001304     05/25/2006
             05/09/2006       135,695.19            MF28301     05/30/2006
             05/15/2006       149,837.96            MF280-01    05/30/2006
             05/15/2006          165.32              001309     07/04/2006
             05/15/2006          472.90              001314     07/04/2006
             05/15/2006          541.31              001312     07/04/2006
             05/15/2006         1,215.09             001312     07/04/2006
             05/15/2006         1,235.38             001309     07/04/2006
             05/15/2006         1,451.21             001310     07/04/2006
             05/15/2006         5,462.98             001313     07/04/2006
             05/15/2006        18,486.09             001311     07/04/2006
             05/18/2006       152,313.41            MF277-01    05/30/2006
             05/31/2006          129.68              001330     05/30/2006
             05/31/2006          251.78              001323     05/30/2006
             05/31/2006          258.09              001322     05/30/2006
             05/31/2006          283.34              001328     05/30/2006
             05/31/2006          283.37              001329     05/30/2006
             05/31/2006          319.93              001332     05/30/2006
             05/31/2006          327.59              001327     05/30/2006
             05/31/2006          362.03              001332     05/30/2006
             05/31/2006          384.45              001324     05/30/2006
             05/31/2006          532.05              001332     05/30/2006
             05/31/2006          677.19              001332     05/30/2006
             05/31/2006          863.30              001332     05/30/2006
             05/31/2006         1,332.57             001326     05/30/2006
             05/31/2006         1,455.80             001332     05/30/2006
             05/31/2006         1,736.45             001325     05/30/2006
             05/31/2006         3,675.11             001331     05/30/2006
             05/31/2006          189.75             MF27502     06/16/2006
             05/31/2006         4,333.21            MF27502     06/16/2006
             05/31/2006         5,810.10            MF27102     06/16/2006
             05/31/2006         7,830.89            MF26702     06/16/2006
             05/31/2006        12,803.69            MF27102     06/16/2006
             05/31/2006        15,089.74            MF26702     06/16/2006
             06/05/2006        17,219.06            MF26802     06/16/2006
             06/06/2006        80,135.08            MF281-01    07/03/2006
             06/16/2006        71,823.27            MF291-01    07/03/2006
             06/16/2006       168,696.04            MF292-01    07/03/2006
             06/26/2006          213.62              001355     07/04/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             06/26/2006          264.41              001350     07/04/2006
             06/26/2006          283.99              001351     07/04/2006
             06/26/2006          510.80              001352     07/04/2006
             06/26/2006          567.66              001356     07/04/2006
             06/26/2006         1,962.95             001349     07/04/2006
             06/26/2006         2,171.44             001353     07/04/2006
             06/26/2006         2,582.43             001354     07/04/2006
             06/26/2006         1,017.15             001357     07/31/2006
             06/26/2006         1,128.15             001357     07/31/2006
             06/26/2006         1,405.59             001357     07/31/2006
             06/27/2006        19,350.50            MF269-02    07/04/2006
             06/27/2006       124,173.06            MF266-01    07/04/2006
             06/27/2006        16,186.57            MF279-02    07/25/2006
             06/28/2006          634.12              001365     07/04/2006
             06/28/2006        18,375.34            MF265-02    07/04/2006
             06/28/2006        89,557.88            MF264-02    07/04/2006
             06/28/2006          154.62              001366     07/31/2006
             06/28/2006          719.73              001366     07/31/2006
             06/29/2006          258.30              001371     07/04/2006
             06/29/2006          264.41              001368     07/04/2006
             06/29/2006          374.63              001369     07/04/2006
             06/29/2006          509.09              001370     07/04/2006
             07/05/2006         4,959.78            MF274-02    07/04/2006
             07/05/2006          517.85              001381     07/31/2006
             07/05/2006         1,017.75             001381     07/31/2006
             07/12/2006        18,628.42            MF283-02    07/25/2006
             07/12/2006        19,484.59            MF277-02    07/25/2006
             07/12/2006        21,643.94            MF280-02    07/25/2006
             07/13/2006          238.51              001398     07/31/2006
             07/13/2006         2,880.22             001401     07/31/2006
             07/18/2006          230.69              001407     08/01/2006
             07/18/2006          665.39              001407     08/01/2006
             07/18/2006         1,159.69             001405     08/01/2006
             07/18/2006         2,644.01             001406     08/01/2006
             07/26/2006          141.85              001410     08/08/2006
             07/26/2006          253.03              001412     08/08/2006
             07/26/2006          403.74              001411     08/08/2006
             07/26/2006          485.82              001409     08/08/2006
             07/26/2006         1,072.66             001409     08/08/2006
             07/27/2006       179,659.54            MF289-01    08/08/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             07/28/2006        19,774.52            MF278-02    08/01/2006
             07/31/2006          370.24              001399     07/31/2006
             07/31/2006          779.53              001400     07/31/2006
             07/31/2006          855.60              001400     07/31/2006
             07/31/2006          643.48              001417     08/08/2006
             08/08/2006          230.69              001430     08/16/2006
             08/08/2006          232.59              001431     08/16/2006
             08/08/2006          676.26              001430     08/16/2006
             08/09/2006       133,288.83            MF272-01    08/28/2006
             08/09/2006       257,119.40            MF293-01    08/29/2006
             08/14/2006        11,906.47            MF291-02    08/28/2006
             08/14/2006        26,291.68            MF292-02    08/28/2006
             08/14/2006          211.63              001438     09/25/2006
             08/14/2006          437.24              001436     09/25/2006
             08/14/2006          504.48              001437     09/25/2006
             08/14/2006          761.25              001435     09/25/2006
             08/14/2006          761.25              001435     09/25/2006
             08/14/2006          761.25              001435     09/25/2006
             08/14/2006          761.25              001435     09/25/2006
             08/14/2006          761.25              001435     09/25/2006
             08/15/2006          143.75              001441     09/25/2006
             08/15/2006          385.14              001440     09/25/2006
             08/15/2006          722.03              001440     09/25/2006
             08/16/2006          349.37              001443     09/25/2006
             08/16/2006          384.27              001442     09/25/2006
             08/16/2006          416.04              001444     09/25/2006
             08/16/2006          436.31              001443     09/25/2006
             08/16/2006          869.16              001445     09/25/2006
             08/24/2006       248,725.46            MF284-01    08/28/2006
             08/30/2006       136,055.54            MF287-01    08/29/2006
             08/31/2006          168.08              001474     09/25/2006
             08/31/2006          169.65              001473     09/25/2006
             08/31/2006          220.19              001470     09/25/2006
             08/31/2006          264.41              001468     09/25/2006
             08/31/2006          378.49              001467     09/25/2006
             08/31/2006          397.11              001469     09/25/2006
             08/31/2006          411.28              001465     09/25/2006
             08/31/2006          426.15              001471     09/25/2006
             08/31/2006          466.83              001477     09/25/2006
             08/31/2006          500.94              001476     09/25/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             08/31/2006          544.92              001475     09/25/2006
             08/31/2006          622.84              001465     09/25/2006
             08/31/2006          679.94              001465     09/25/2006
             08/31/2006          723.46              001465     09/25/2006
             08/31/2006          923.06              001466     09/25/2006
             08/31/2006          946.73              001472     09/25/2006
             08/31/2006         1,001.06             001480     09/25/2006
             08/31/2006        12,436.31             001478     09/25/2006
             09/07/2006       151,173.93            MF294-01    09/14/2006
             09/21/2006       129,042.67            MF333-01    09/29/2006
             09/21/2006       154,492.49            MF288-01    09/29/2006
             09/25/2006          248.97              001510     09/29/2006
             09/25/2006          379.53              001514     09/29/2006
             09/25/2006          384.01              001513     09/29/2006
             09/25/2006          438.32              001511     09/29/2006
             09/25/2006          450.34              001511     09/29/2006
             09/25/2006          466.58              001516     09/29/2006
             09/25/2006          491.85              001518     09/29/2006
             09/25/2006          573.91              001511     09/29/2006
             09/25/2006          644.80              001511     09/29/2006
             09/25/2006          662.97              001512     09/29/2006
             09/25/2006          725.93              001507     09/29/2006
             09/25/2006          765.50              001511     09/29/2006
             09/25/2006         1,092.04             001509     09/29/2006
             09/25/2006         1,182.49             001511     09/29/2006
             09/25/2006         1,433.69             001517     09/29/2006
             09/25/2006       165,700.17            MF314-01    09/29/2006
             09/25/2006         4,158.15             001520     10/17/2006
             09/25/2006         3,808.53             001508     09/22/2007
             10/06/2006        15,330.11            MF281-02    10/10/2006
             10/06/2006        23,358.73            MF289-02    10/10/2006
             10/17/2006        38,872.56            MF345-01    10/23/2006
             10/17/2006        39,501.77            MF346-01    10/23/2006
             10/19/2006        16,300.15            MF272-02    10/23/2006
             10/25/2006          379.63              001567     11/03/2006
             10/25/2006          396.26              001571     11/03/2006
             10/25/2006          453.14              001568     11/03/2006
             10/25/2006          547.34              001570     11/03/2006
             10/25/2006          776.70              001565     11/03/2006
             10/25/2006          786.78              001559     11/03/2006



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             Invoice Date   Net Amount              Invoice #   Posting Date
             10/25/2006          801.09              001560     11/03/2006
             10/25/2006          863.23              001562     11/03/2006
             10/25/2006          882.45              001564     11/03/2006
             10/25/2006         1,254.01             001558     11/03/2006
             10/25/2006         1,630.31             001561     11/03/2006
             10/25/2006         2,260.24             001557     11/03/2006
             10/25/2006         6,686.54             001569     11/03/2006
             10/25/2006        31,507.59            MF348-01    11/03/2006
             10/25/2006        54,169.34            MF349-01    11/03/2006
             10/25/2006       193,649.24            MF315-01    11/03/2006
             10/25/2006          706.22              001563     11/22/2006
             10/25/2006         5,589.79             001556     11/28/2006
             10/30/2006       159,867.17            MF253-01    11/03/2006
             11/01/2006        46,819.92            MF284-02    11/03/2006
             11/03/2006       188,928.38            MF335-01    11/13/2006
             11/09/2006       176,646.05            MF320-01    11/13/2006
             11/10/2006        50,867.63            MF351-01    11/28/2006
             11/10/2006        55,632.30            MF352-01    11/28/2006
             11/10/2006        56,933.73            MF353-01    11/28/2006
             11/13/2006        44,582.44            MF293-02    11/28/2006
             11/17/2006        18,034.08            MF288-02    11/28/2006
             11/20/2006          467.14              001610     12/12/2006
             11/20/2006          490.64              001599     12/12/2006
             11/20/2006          550.14              001604     12/12/2006
             11/20/2006          587.08              001605     12/12/2006
             11/20/2006          684.68              001606     12/12/2006
             11/20/2006          955.06              001600     12/12/2006
             11/20/2006         1,166.20             001608     12/12/2006
             11/20/2006         1,209.71             001603     12/12/2006
             11/20/2006         1,235.16             001602     12/12/2006
             11/20/2006         1,333.06             001600     12/12/2006
             11/20/2006         1,518.40             001609     12/12/2006
             11/20/2006         1,557.32             001607     12/12/2006
             11/20/2006         1,933.86             001601     12/12/2006
             11/20/2006         2,438.61             001604     12/12/2006
             11/20/2006         2,935.34             001597     12/12/2006
             11/20/2006        20,362.82             001598     12/12/2006
             11/20/2006         1,177.65             001596     12/20/2006
             11/21/2006        24,019.14            MF354-01    11/28/2006
             11/21/2006       109,656.22            MF357-01    11/28/2006



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             Invoice Date   Net Amount               Invoice #   Posting Date
             11/21/2006       115,325.55             MF313-01    11/28/2006
             11/30/2006         4,245.76              001628     12/14/2006
             11/30/2006         4,245.76              001628     12/14/2006
             11/30/2006        (4,245.76)             001628     06/21/2007
             12/06/2006        15,720.14             MF333-02    12/12/2006
             12/06/2006       262,672.89             MF347-01    12/12/2006
             12/06/2006       262,672.89             MF347-01    12/12/2006
             12/06/2006      (262,672.89)            MF347-01    04/19/2007
             12/07/2006        18,689.08             MF294-02    12/12/2006
             12/07/2006        21,702.51             MF287-02    12/12/2006
             12/07/2006       161,755.84             MF332-01    12/12/2006
             12/07/2006       161,755.84             MF332-01    12/12/2006
             12/08/2006       147,649.13             MF361-01    12/20/2006
             12/08/2006       147,649.13             MF361-01    12/20/2006
             12/14/2006        22,032.65             MF314-02    12/20/2006
             12/14/2006        22,032.65             MF314-02    12/20/2006
             12/14/2006        35,609.87             MF266-02    12/20/2006
             12/14/2006        35,609.87             MF266-02    12/20/2006
             12/19/2006         3,500.85             MF348-02    12/29/2006
             12/19/2006         4,319.17             MF345-02    12/29/2006
             12/19/2006        35,395.09             MF315-02    12/29/2006
             12/19/2006        56,312.86             MF253-02    12/29/2006
             12/22/2006        43,100.00              001650     01/02/2007
             12/22/2006        64,650.00              001649     01/02/2007
             12/22/2006         1,096.16              001655     01/16/2007
             12/22/2006         1,469.88              001653     01/16/2007
             12/22/2006         1,667.20              001653     01/16/2007
             12/22/2006           718.89              001654     01/17/2007
             12/22/2006           739.62              001656     01/17/2007
             12/22/2006         2,683.78              001652     01/17/2007
             12/22/2006         5,264.19              001651     01/17/2007
             12/22/2006           258.92              001657     06/26/2007
             12/27/2006        40,488.91             MF349-02    01/02/2007
             01/03/2007         5,651.95             MF351-02    01/12/2007
             01/04/2007         4,389.09             MF346-02    01/12/2007
             01/04/2007         6,325.97             MF 353-02   01/12/2007
             01/04/2007       151,106.55             MF344-01    01/12/2007
             01/04/2007       161,223.91             MF368-01    01/13/2007
             01/09/2007         6,181.37             MF352-02    01/13/2007
             01/09/2007       159,108.20             MF366-01    01/13/2007



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             Invoice Date   Net Amount               Invoice #   Posting Date
             01/09/2007         1,987.36              001670     01/16/2007
             01/09/2007        21,645.54              001669     01/16/2007
             01/09/2007           794.55              001671     01/17/2007
             01/12/2007         4,441.94             MF350-02    01/17/2007
             01/19/2007        24,514.03             MF357-02    01/22/2007
             01/22/2007       (24,514.03)            1-19-2007   01/22/2007
             01/22/2007        24,514.03             1-19-2007   01/22/2007
             01/23/2007        21,889.73             MF335-02    01/17/2007
             01/29/2007       180,797.93             MF371-01    01/30/2007
             01/30/2007           243.03              001732     03/13/2007
             01/30/2007           270.63              001731     03/13/2007
             01/30/2007           272.66              001717     03/13/2007
             01/30/2007           300.12              001703     03/13/2007
             01/30/2007           328.00              001730     03/13/2007
             01/30/2007           341.39              001723     03/13/2007
             01/30/2007           405.94              001721     03/13/2007
             01/30/2007           416.55              001724     03/13/2007
             01/30/2007           489.83              001727     03/13/2007
             01/30/2007           569.06              001707     03/13/2007
             01/30/2007           653.85              001710     03/13/2007
             01/30/2007           678.18              001719     03/13/2007
             01/30/2007           697.12              001722     03/13/2007
             01/30/2007           759.38              001720     03/13/2007
             01/30/2007           860.48              001704     03/13/2007
             01/30/2007         1,013.13              001702     03/13/2007
             01/30/2007         1,140.00              001706     03/13/2007
             01/30/2007         1,147.75              001709     03/13/2007
             01/30/2007         1,587.41              001708     03/13/2007
             01/30/2007         3,666.70              001729     03/13/2007
             01/30/2007           423.74              001700     03/14/2007
             01/30/2007           463.68              001726     03/14/2007
             01/30/2007           884.51              001725     03/14/2007
             01/30/2007         2,111.77              001699     03/14/2007
             01/30/2007         1,132.15              001716     03/22/2007
             01/30/2007         1,307.15              001714     03/22/2007
             01/30/2007         1,588.19              001715     03/22/2007
             01/30/2007         2,274.22              001712     03/22/2007
             01/30/2007         3,802.77              001713     03/22/2007
             01/30/2007        10,375.27              001711     03/22/2007
             01/30/2007            93.40             001716A     04/26/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             01/30/2007          107.83             001714A     04/26/2007
             01/30/2007          313.73             001713A     04/26/2007
             01/30/2007          855.96             001711A     04/26/2007
             01/31/2007        52,650.80            MF380-01    01/17/2007
             02/01/2007         2,668.79            MF354-02    01/17/2007
             02/01/2007        14,922.51            MF340-02    01/17/2007
             02/06/2007       165,054.46            MF367-01    02/27/2007
             02/13/2007        26,016.36            MF331-02    03/08/2007
             02/13/2007          629.74              001747     06/27/2007
             02/13/2007         1,124.18             001745     06/27/2007
             02/13/2007         1,261.51             001744     06/27/2007
             02/13/2007         1,652.87             001746     06/27/2007
             02/13/2007         1,767.41             001750     06/27/2007
             02/14/2007          244.29              001752     03/13/2007
             02/14/2007          289.51              001751     03/13/2007
             02/14/2007          415.23              001754     03/13/2007
             02/14/2007          529.49              001756     03/13/2007
             02/14/2007          795.04              001753     03/13/2007
             02/14/2007         2,979.69             001755     03/13/2007
             02/15/2007         9,630.65            MF320-02    03/08/2007
             02/15/2007        18,893.77            MF361-02    03/08/2007
             02/15/2007        20,193.57            MF320-02    03/08/2007
             02/15/2007        25,434.88            MF338-02    03/08/2007
             02/15/2007       136,021.63            MF376-01    03/08/2007
             02/16/2007        17,355.20            MF313-02    03/08/2007
             02/16/2007        80,925.56            MF369-01    05/23/2007
             02/19/2007          375.67              001764     03/13/2007
             02/19/2007          616.01              001762     03/13/2007
             02/19/2007         3,012.50             001760     03/13/2007
             02/19/2007         3,788.75             001759     03/13/2007
             02/19/2007         4,843.75             001758     03/13/2007
             02/19/2007          289.94              001763     03/14/2007
             02/19/2007         7,625.00             001761     03/24/2007
             02/20/2007       145,330.60            MF37501     03/20/2007
             02/21/2007       169,724.72            MF363-01    02/27/2007
             02/22/2007          338.28              001779     03/13/2007
             02/28/2007          231.45              001789     03/13/2007
             02/28/2007          300.12              001785     03/13/2007
             02/28/2007          690.86              001791     03/13/2007
             02/28/2007          822.03              001784     03/13/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             02/28/2007          328.00              001790     03/14/2007
             02/28/2007          504.28              001787     03/14/2007
             02/28/2007         1,120.97             001788     03/14/2007
             02/28/2007        89,870.57            MF37901     03/14/2007
             03/01/2007        20,399.62            MF34402     03/14/2007
             03/02/2007       141,464.43            MF37301     03/14/2007
             03/07/2007        10,792.50            MF33402     03/14/2007
             03/07/2007        16,716.38            MF33402     03/14/2007
             03/08/2007         5,850.09            MF38002     03/14/2007
             03/12/2007        25,360.67            MF36602     03/14/2007
             03/12/2007       178,380.29            MF36201     03/20/2007
             03/13/2007          340.69              001815     03/20/2007
             03/13/2007          490.34              001812     03/20/2007
             03/13/2007          695.94              001809     03/20/2007
             03/13/2007          854.53              001814     03/20/2007
             03/13/2007          856.66              001811     03/20/2007
             03/13/2007         1,783.42             001810     03/20/2007
             03/13/2007          672.21              001813     03/24/2007
             03/14/2007          452.11              001817     03/20/2007
             03/14/2007       130,832.57            MF38501     03/20/2007
             03/15/2007          267.57              001821     06/26/2007
             03/15/2007          999.19              001820     06/26/2007
             03/19/2007        20,469.23            MF36802     03/22/2007
             03/21/2007        50,221.59            MF33202     03/26/2007
             03/21/2007          515.72              001838     06/26/2007
             03/21/2007         1,939.31             001837     06/26/2007
             03/21/2007          495.61              001835     09/22/2007
             03/21/2007         1,162.68             001828     11/06/2007
             03/28/2007        44,950.84            MF391-01    04/02/2007
             03/28/2007        45,035.13            MF393-01    04/02/2007
             03/28/2007        45,229.50            MF390-01    04/02/2007
             03/29/2007        23,204.86            MF367-02    04/02/2007
             03/29/2007         3,677.50             001843     04/03/2007
             03/29/2007          368.80              001845     06/26/2007
             03/29/2007          639.69              001844     06/26/2007
             03/29/2007          712.16              001846     06/26/2007
             03/29/2007          378.75              001847     06/27/2007
             03/30/2007       291,023.97            MF372-01    04/02/2007
             04/02/2007       160,971.12            MF364-01    04/03/2007
             04/03/2007        27,295.41            MF37102     04/03/2007



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             Invoice Date   Net Amount               Invoice #   Posting Date
             04/12/2007        40,841.14            MF394-01     04/17/2007
             04/12/2007        46,402.57            MF395-01     04/17/2007
             04/12/2007        52,395.57            MF392-01     04/17/2007
             04/16/2007          302.63              001868      06/26/2007
             04/16/2007          302.63              001867      06/26/2007
             04/16/2007          448.53              001865      06/26/2007
             04/16/2007          719.02              001861      06/26/2007
             04/16/2007          791.09              001862      06/26/2007
             04/16/2007          505.63              001869      06/27/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.71              001864      08/28/2007
             04/16/2007          239.75              001864      08/28/2007
             04/17/2007        56,022.65            MF383-01     04/23/2007
             04/17/2007       131,099.72            MF378-01     04/23/2007
             04/17/2007       147,749.88            MF377-01     04/23/2007
             04/17/2007        21,883.40            MF376-01A    04/26/2007
             04/18/2007        21,227.00            MF400-01     04/27/2007
             04/18/2007        35,954.06            MF397-01     04/27/2007
             04/18/2007        43,415.98            MF398-01     04/27/2007
             04/18/2007          251.88              001877      06/26/2007
             04/18/2007          276.77              001882      06/26/2007
             04/18/2007          340.53              001878      06/26/2007
             04/18/2007          753.35              001883      06/26/2007
             04/18/2007          925.03              001880      06/26/2007
             04/18/2007         1,044.84             001881      06/26/2007
             04/18/2007          569.06              001879      06/27/2007
             04/25/2007        25,639.51            MF402-01     05/01/2007
             04/25/2007        39,948.25            MF404-01     05/01/2007
             04/25/2007        40,292.29            MF401-01     05/01/2007
             04/26/2007        39,150.05            MF363-02     05/07/2007
             04/26/2007        42,777.11            MF375-02     05/07/2007
             04/26/2007          245.19              001902      06/26/2007
             04/26/2007          258.92              001908      06/26/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             04/26/2007          284.73              001906     06/26/2007
             04/26/2007          305.07              001910     06/26/2007
             04/26/2007          386.89              001905     06/26/2007
             04/26/2007          418.23              001907     06/26/2007
             04/26/2007          611.20              001904     06/26/2007
             04/26/2007         1,068.00             001903     06/26/2007
             04/26/2007          264.56              001909     06/27/2007
             05/01/2007        19,253.37            MF405-01    05/07/2007
             05/01/2007        22,879.40            MF403-01    05/07/2007
             05/16/2007        41,233.63            MF362-02    05/21/2007
             05/16/2007         1,251.22             001926     06/18/2007
             05/16/2007          191.27              001932     06/19/2007
             05/16/2007          245.53              001939     06/19/2007
             05/16/2007          306.98              001930     06/19/2007
             05/16/2007          375.66              001931     06/19/2007
             05/16/2007          398.72              001933     06/19/2007
             05/16/2007          448.53              001934     06/19/2007
             05/16/2007          474.83              001929     06/19/2007
             05/16/2007          480.25              001936     06/19/2007
             05/16/2007          603.52              001927     06/19/2007
             05/16/2007          774.97              001937     06/19/2007
             05/16/2007          891.19              001928     06/19/2007
             05/16/2007          959.36              001935     06/19/2007
             05/17/2007        18,290.75            MF379-02    05/21/2007
             05/17/2007          464.93              001944     06/18/2007
             05/17/2007         1,000.44             001948     06/18/2007
             05/17/2007         1,577.41             001943     06/18/2007
             05/17/2007         1,664.55            0019411     06/18/2007
             05/17/2007         2,195.45            0019471     06/18/2007
             05/17/2007         2,229.77             001946     06/18/2007
             05/17/2007         4,910.95             001940     06/18/2007
             05/17/2007          252.05              001945     06/19/2007
             05/17/2007          458.69              001949     06/19/2007
             05/24/2007       203,151.01            MF388-01    05/29/2007
             05/25/2007         5,186.50            MF394-02    05/29/2007
             05/25/2007         6,135.64            MF395-02    05/29/2007
             05/25/2007         6,367.98            MF392-02    05/29/2007
             05/25/2007         9,046.15            MF393-02    05/29/2007
             05/25/2007        11,643.75            MF390-02    05/29/2007
             05/25/2007        12,586.84            MF391-02    05/29/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             05/25/2007          248.49              001980     06/21/2007
             05/25/2007          391.44              001976     06/21/2007
             05/25/2007          492.41              001979     06/21/2007
             05/25/2007         1,089.84             001978     06/21/2007
             05/25/2007         1,203.44             001975     06/25/2007
             05/25/2007          315.31              001972     09/11/2007
             05/25/2007         1,650.48             001973     09/11/2007
             05/25/2007         2,263.17             001974     09/11/2007
             05/25/2007          308.97              001977     09/22/2007
             05/25/2007         1,802.14             001983     10/30/2007
             05/25/2007         1,802.23             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007         1,802.24             001983     10/30/2007
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.21              001982     06/23/2008
             05/25/2007          735.30              001982     06/23/2008
             05/29/2007          373.50             MF398-02    05/29/2007
             05/29/2007        24,446.55            MF373-02    05/29/2007
             05/30/2007       169,691.63            MF418-01    06/21/2007
             06/06/2007         2,139.27            MF405-02    06/11/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             06/06/2007         2,542.16            MF403-02    06/11/2007
             06/06/2007         2,848.83            MF402-02    06/11/2007
             06/06/2007         3,994.89            MF397-02    06/11/2007
             06/06/2007         5,764.92            MF401-02    06/11/2007
             06/06/2007         8,214.35            MF400-02    06/11/2007
             06/06/2007        33,876.62            MF423-01    06/11/2007
             06/06/2007        36,158.75            MF422-01    06/11/2007
             06/06/2007       174,264.67            MF412-01    06/11/2007
             06/08/2007       134,851.63            MF396-01    06/21/2007
             06/11/2007          389.13              002000     06/21/2007
             06/11/2007          443.71              002001     06/21/2007
             06/11/2007         1,668.18             002002     06/29/2007
             06/11/2007         5,340.83             002003     06/29/2007
             06/11/2007          269.32              002008     09/22/2007
             06/11/2007          313.86              002005     09/22/2007
             06/11/2007          393.09             0020006     09/22/2007
             06/11/2007          424.30              002004     09/22/2007
             06/11/2007         1,203.44             002007     09/22/2007
             06/11/2007          393.09              002006     10/30/2007
             06/12/2007          302.63              002015     09/11/2007
             06/12/2007          503.57              002009     09/11/2007
             06/12/2007          513.25              002011     09/11/2007
             06/12/2007          658.72              002010     09/11/2007
             06/12/2007         3,012.30             002016     09/11/2007
             06/12/2007         3,269.43             002017     09/11/2007
             06/12/2007          341.32              002013     09/22/2007
             06/12/2007          849.27              002012     09/22/2007
             06/12/2007          341.32              02013      10/28/2007
             06/13/2007        18,585.95            MF434-01    06/21/2007
             06/13/2007        19,684.25            MF427-01    06/21/2007
             06/13/2007        20,718.81            MF432-01    06/21/2007
             06/13/2007        21,393.59            MF428-01    06/21/2007
             06/13/2007        22,097.86            MF431-01    06/21/2007
             06/13/2007        22,941.14            MF433-01    06/21/2007
             06/13/2007          513.25              002020     06/29/2007
             06/13/2007          623.35              002021     06/29/2007
             06/13/2007          794.55              002019     06/29/2007
             06/13/2007        32,066.55            MF430-01    07/18/2007
             06/22/2007        25,110.54            MF378-02    07/18/2007
             06/22/2007       143,026.16            MF421-01    07/18/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             06/25/2007          347.03              002040     07/18/2007
             06/25/2007          478.67              002038     07/18/2007
             06/25/2007          513.25              002043     07/18/2007
             06/25/2007          986.14              002041     07/18/2007
             06/25/2007         1,013.13             002037     07/18/2007
             06/25/2007         1,322.50             062507     07/18/2007
             06/25/2007         2,217.32             002039     07/20/2007
             06/25/2007         2,217.35             002039     07/20/2007
             06/25/2007         2,217.35             002039     07/20/2007
             06/25/2007         2,217.35             002039     07/20/2007
             06/27/2007          341.32              002048     07/18/2007
             06/28/2007        23,910.46            MF385-02    07/18/2007
             07/02/2007        23,763.54            MF435-01    07/18/2007
             07/05/2007       151,156.83            MF387-01    07/18/2007
             07/05/2007       163,984.85            MF399-01    07/18/2007
             07/06/2007       124,350.22            MF438-01    07/18/2007
             07/24/2007       144,882.06            MF425-01    08/09/2007
             07/30/2007         3,652.10            MF404-02    08/09/2007
             07/30/2007       153,382.26            MF441-01    08/09/2007
             07/31/2007       203,719.81            MF407-01    08/09/2007
             07/31/2007        16,081.15            MF369-02    08/16/2007
             07/31/2007          160.75              002083     08/24/2007
             07/31/2007          444.33              002082     08/24/2007
             07/31/2007          494.22              002084     08/24/2007
             07/31/2007          510.70              002086     08/24/2007
             07/31/2007          513.24              002078     08/24/2007
             07/31/2007         1,344.81             002081     08/28/2007
             07/31/2007         1,737.37             002080     08/28/2007
             07/31/2007         2,502.64             002085     08/28/2007
             07/31/2007          257.93              002079     09/12/2007
             08/03/2007        29,185.87            MF347-02    08/09/2007
             08/03/2007        51,330.95            MF372-02    08/09/2007
             08/03/2007       104,046.19            MF347-02    08/09/2007
             08/06/2007        18,823.37            MF396-02    08/24/2007
             08/07/2007        21,032.75            MF377-02    08/24/2007
             08/07/2007        21,163.28            MF364-02    08/24/2007
             08/09/2007       104,222.99            MF444-01    08/24/2007
             08/13/2007          300.12              002121     10/30/2007
             08/13/2007          341.32              002119     10/30/2007
             08/13/2007          404.13              002108     10/30/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             08/13/2007          458.07              002109     10/30/2007
             08/13/2007          478.67              002115     10/30/2007
             08/13/2007          513.25              002114     10/30/2007
             08/13/2007          513.25              002100     10/30/2007
             08/13/2007          513.25              002118     10/30/2007
             08/13/2007          513.25              002107     10/30/2007
             08/13/2007          513.25              002111     10/30/2007
             08/13/2007          702.28              002116     10/30/2007
             08/13/2007          711.78              002113     10/30/2007
             08/13/2007          735.43              002117     10/30/2007
             08/13/2007          807.26              002106     10/30/2007
             08/13/2007          807.26              002101     10/30/2007
             08/13/2007          880.26              002123     10/30/2007
             08/13/2007          913.36              002110     10/30/2007
             08/13/2007         1,646.08             002112     10/30/2007
             08/13/2007         1,994.93             002122     10/30/2007
             08/13/2007         2,812.50             002099     10/30/2007
             08/13/2007         1,076.23             002103     11/05/2007
             08/13/2007         1,085.98             002102     11/06/2007
             08/13/2007         2,823.75             002105     11/06/2007
             08/14/2007        20,289.64            MF412-02    08/24/2007
             08/15/2007         7,252.21            MF423-02    08/24/2007
             08/15/2007         8,054.77            MF422-02    08/24/2007
             08/20/2007         3,600.99             002134     10/30/2007
             08/20/2007         3,607.42             002133     10/30/2007
             08/20/2007         3,655.62             002135     10/30/2007
             08/20/2007         3,683.05             002132     10/30/2007
             08/20/2007         3,821.95             002131     10/30/2007
             08/20/2007         3,827.37             002128     10/30/2007
             08/20/2007         3,911.10             002127     10/30/2007
             08/20/2007         3,941.41             002130     10/30/2007
             08/20/2007         3,966.93             002129     10/30/2007
             08/21/2007          472.64              002142     10/26/2007
             08/21/2007          513.25              002139     10/26/2007
             08/21/2007          513.25              002140     10/26/2007
             08/21/2007          991.23              002141     10/30/2007
             08/21/2007        15,623.84             002138     10/30/2007
             08/21/2007        19,615.47             002137     10/30/2007
             08/21/2007        20,325.02             002136     10/30/2007
             08/21/2007          462.45              002143     11/05/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             08/21/2007         4,305.62             002144     11/07/2007
             08/22/2007        22,201.86            MF42102     08/28/2007
             08/23/2007         3,207.94            MF42702     08/28/2007
             08/23/2007         3,905.48            MF43202     08/28/2007
             08/23/2007         4,297.73            MF43102     08/28/2007
             08/23/2007         5,222.71            MF43302     08/28/2007
             08/23/2007         7,993.68            MF42802     08/28/2007
             08/24/2007         4,837.92             002158     08/28/2007
             08/24/2007         6,552.51            MF43002     08/28/2007
             08/24/2007         7,479.87            MF43402     08/28/2007
             08/24/2007          517.02              002161     09/11/2007
             08/24/2007          618.76              002160     09/11/2007
             08/24/2007         2,252.48             002159     09/22/2007
             08/28/2007         5,090.31            MF435-02    09/11/2007
             08/29/2007       154,629.94            MF442-01    09/11/2007
             08/29/2007       164,368.23            MF420-01    09/11/2007
             08/29/2007       317,358.44            MF446-01    09/11/2007
             08/29/2007         3,550.63             002166     10/28/2007
             08/29/2007          378.75              002168     10/30/2007
             08/29/2007          382.53              002170     10/30/2007
             08/29/2007          429.22              002169     10/30/2007
             08/29/2007          684.68              002167     10/30/2007
             08/31/2007       152,014.06            MF413-01    09/22/2007
             08/31/2007          616.01              002178     09/28/2007
             08/31/2007          341.32              002181     10/30/2007
             08/31/2007          517.02              002179     11/06/2007
             08/31/2007          648.97              002180     11/06/2007
             09/05/2007       142,081.11            MF453-01    09/26/2007
             09/06/2007       142,970.73            MF440-001   09/26/2007
             09/10/2007        32,666.77            MF383-02    09/22/2007
             09/12/2007          346.82              002201     09/28/2007
             09/12/2007          410.47              002197     09/28/2007
             09/12/2007          632.50              002199     09/28/2007
             09/12/2007          849.49              002194     09/28/2007
             09/12/2007          849.49              002193     09/28/2007
             09/12/2007          849.49              002191     09/28/2007
             09/12/2007          849.49              002192     09/28/2007
             09/12/2007          753.03              002200     11/14/2007
             09/13/2007        18,251.89            MF425-02    09/26/2007
             09/14/2007        24,804.87            MF399-02    09/26/2007



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             Invoice Date   Net Amount               Invoice #   Posting Date
             09/18/2007        19,381.62             MF387-02    09/26/2007
             09/18/2007        22,771.86             MF438-02    09/26/2007
             09/21/2007          312.86               002248     11/05/2007
             09/21/2007          517.02               002220     11/05/2007
             09/21/2007          695.94               002219     11/05/2007
             09/21/2007          699.79               002216     11/05/2007
             09/21/2007          773.95               002120     11/05/2007
             09/21/2007         1,165.38              002218     11/05/2007
             09/21/2007         2,538.80              002221     11/05/2007
             09/21/2007         3,515.10              002217     11/05/2007
             09/21/2007          520.93               002212     11/06/2007
             09/24/2007        12,863.93             MF444-02    09/26/2007
             09/26/2007          502.43               002231     10/30/2007
             09/26/2007         1,606.43              002232     10/30/2007
             09/26/2007          272.66               002225     11/05/2007
             09/26/2007          313.86               002226     11/05/2007
             09/26/2007          315.24               002213     11/05/2007
             09/26/2007          347.03               002230     11/05/2007
             09/26/2007         2,511.34              002228     11/05/2007
             09/26/2007         4,229.41              002229     11/05/2007
             09/28/2007       101,986.18            MF44301REV   10/30/2007
             10/04/2007       240,260.14             MF408-01    10/12/2007
             10/10/2007        43,933.93             MF38802     10/26/2007
             10/15/2007        17,926.33             MF44102     10/26/2007
             10/15/2007          226.59               002244     11/05/2007
             10/15/2007          317.32               002242     11/05/2007
             10/15/2007          322.93               002251     11/05/2007
             10/15/2007          442.19               002247     11/05/2007
             10/15/2007          723.48               002245     11/05/2007
             10/15/2007         1,159.89              002250     11/05/2007
             10/15/2007          501.32               002246     11/06/2007
             10/15/2007          920.91               002249     11/06/2007
             10/15/2007         1,165.38              002241     11/06/2007
             10/15/2007          861.85               002243     11/07/2007
             10/17/2007          508.88               002262     10/28/2007
             10/17/2007          456.69               002260     11/05/2007
             10/17/2007          555.11               002258     11/05/2007
             10/17/2007          591.29               002256     11/05/2007
             10/17/2007          610.52               002261     11/05/2007
             10/17/2007          708.03               002259     11/05/2007



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             Invoice Date   Net Amount               Invoice #   Posting Date
             10/17/2007          839.88              002264      11/05/2007
             10/17/2007         1,580.16            0022632263   11/05/2007
             10/17/2007         2,780.49             002257      11/05/2007
             10/18/2007        15,065.55            MF463-001    11/05/2007
             10/18/2007       135,550.00            MF463001A    11/15/2007
             10/26/2007          411.85              002272      11/05/2007
             10/26/2007          528.77              002271      11/05/2007
             10/26/2007          563.22              002270      11/05/2007
             10/26/2007          567.94              002276      11/05/2007
             10/26/2007         1,199.71             002277      11/05/2007
             10/26/2007         1,220.31             002275      11/05/2007
             10/26/2007         1,570.54             002274      11/05/2007
             10/26/2007         1,824.62             002278      11/05/2007
             10/26/2007         3,093.66             002273      11/05/2007
             10/29/2007        21,285.45            MF442-02     11/05/2007
             10/29/2007       140,599.04            MF451-001    11/05/2007
             10/30/2007        21,272.41             MF42002     11/06/2007
             11/02/2007       216,386.09             MF45001     11/09/2007
             11/02/2007       676,302.25             MF44901     11/09/2007
             11/06/2007       163,884.97            MF476-01     11/26/2007
             11/06/2007       175,392.31            MF467-01     11/26/2007
             11/06/2007       193,286.58            MF479-01     11/26/2007
             11/07/2007        38,567.32            MF407-02     11/26/2007
             11/07/2007         2,030.67             002288      11/27/2007
             11/08/2007          271.40              002289      11/27/2007
             11/08/2007          527.62              002295      11/27/2007
             11/08/2007          565.19              002293      11/27/2007
             11/08/2007          727.10              002294      11/27/2007
             11/08/2007          339.75              002297      12/31/2007
             11/08/2007         1,246.88             002296      12/31/2007
             11/08/2007         1,385.12             002291      12/31/2007
             11/08/2007         1,385.12             002292      12/31/2007
             11/08/2007         1,385.12             002290      12/31/2007
             11/09/2007          272.66              002303      12/31/2007
             11/09/2007          340.54              002305      12/31/2007
             11/09/2007          341.32              002298      12/31/2007
             11/09/2007          478.67              002302      12/31/2007
             11/09/2007          527.62              002304      12/31/2007
             11/09/2007          684.68              002299      12/31/2007
             11/09/2007         1,356.96             002301      12/31/2007



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             Invoice Date   Net Amount              Invoice #   Posting Date
             11/09/2007         1,367.11             002300     12/31/2007
             11/12/2007        24,669.43            MF440-02    11/26/2007
             11/12/2007       615,347.24            MF417-01    12/31/2007
             11/15/2007          171.70              002315     11/27/2007
             11/15/2007          177.20              002314     11/27/2007
             11/15/2007          182.69              002316     11/27/2007
             11/15/2007          206.01              002310     11/27/2007
             11/15/2007          274.68              002311     11/27/2007
             11/15/2007         1,096.71             002313     11/27/2007
             11/15/2007         1,329.20             002312     11/27/2007
             11/16/2007        57,156.00             002319     11/27/2007
             11/21/2007        22,585.90            MF413-02    11/26/2007
             11/21/2007          527.61              002320     11/27/2007
             11/26/2007        55,298.18            MF446-02    11/26/2007
             11/28/2007        52,000.45            MF447-01    12/31/2007
             12/04/2007       118,826.64            MF483-01    12/10/2007
             12/11/2007        19,866.34            MF443-02    12/31/2007
             12/11/2007        40,993.83            MF453-02    12/31/2007
             12/13/2007       146,387.72            MF485-01    12/31/2007
             12/13/2007       175,303.14            MF481-01    12/31/2007
             12/14/2007          213.81              002353     12/31/2007
             12/14/2007          220.16              002357     12/31/2007
             12/14/2007          324.85              002351     12/31/2007
             12/14/2007          341.32              002347     12/31/2007
             12/14/2007          425.11              002345     12/31/2007
             12/14/2007          447.01              002356     12/31/2007
             12/14/2007          478.67              002346     12/31/2007
             12/14/2007          547.34              002350     12/31/2007
             12/14/2007          569.06              002354     12/31/2007
             12/14/2007          632.50              002355     12/31/2007
             12/14/2007          876.97              002358     12/31/2007
             12/14/2007         1,234.05             002349     12/31/2007
             12/14/2007         1,234.05             002348     12/31/2007
             12/14/2007         2,599.06             002359     12/31/2007
             12/14/2007         3,754.28             002352     12/31/2007
             12/19/2007       223,768.44            MF470-01    01/15/2008
             12/20/2007       179,693.83            MF495-01    01/15/2008
             12/21/2007          378.75              002368     01/09/2008
             12/21/2007          684.68              002367     01/09/2008
             01/04/2008       155,488.93            MF496-01    01/15/2008



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             Invoice Date   Net Amount               Invoice #   Posting Date
             01/04/2008       157,785.95             MF478-01    01/15/2008
             01/04/2008       186,161.00             MF458-01    01/15/2008
             01/07/2008       132,978.23             MF462-01    01/15/2008
             01/07/2008       140,134.14             MF484-01    01/15/2008
             01/09/2008           306.98              002378     01/28/2008
             01/09/2008           315.31              002379     01/28/2008
             01/09/2008           315.31              002380     01/28/2008
             01/09/2008           337.51              002392     01/28/2008
             01/09/2008           387.60              002389     01/28/2008
             01/09/2008           474.85              002393     01/28/2008
             01/09/2008           527.62              002383     03/29/2008
             01/09/2008           765.72              002377     03/29/2008
             01/09/2008         1,234.05              002384     03/29/2008
             01/09/2008           316.61              002381     04/01/2008
             01/09/2008           650.34              002382     04/01/2008
             01/09/2008         5,375.67              002391     06/20/2008
             01/09/2008         6,041.03              002386     06/23/2008
             01/09/2008           275.52              002385     07/18/2008
             01/09/2008           993.70              002394     07/18/2008
             01/09/2008         3,774.89              002387     07/18/2008
             01/09/2008         4,054.85              002388     07/18/2008
             01/09/2008         3,053.83              002390     12/15/2008
             01/11/2008        22,318.17             MF476-02    01/15/2008
             01/11/2008        25,650.79             MF479-02    01/15/2008
             01/11/2008        26,091.11             MF467-02    01/15/2008
             01/11/2008        29,399.42             MF450-02    01/15/2008
             01/15/2008        35,796.87             MF463-02    01/28/2008
             01/15/2008        (1,234.05)             002403     03/20/2008
             01/17/2008           277.25              002429     01/29/2008
             01/17/2008           313.86              002434     01/29/2008
             01/21/2008       174,469.67             MF482-01    01/27/2008
             01/21/2008       189,557.64             MF507-01    03/17/2008
             01/22/2008       175,142.27             MF502-01    01/27/2008
             01/22/2008       218,517.70             MF497-01    01/27/2008
             01/23/2008       178,040.78             MF460-01    01/27/2008
             01/23/2008       242,797.27             MF468-01    01/27/2008
             01/23/2008         1,421.00              002415     03/29/2008
             01/23/2008         1,421.00              002416     03/29/2008
             01/23/2008         1,421.00              002414     03/29/2008
             01/23/2008         1,421.00              002412     03/29/2008



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             Invoice Date   Net Amount              Invoice #   Posting Date
             01/23/2008         9,691.99             002413     07/18/2008
             01/23/2008         2,027.46             002413     07/18/2008
             01/25/2008         5,777.83            MF447-02    01/27/2008
             01/25/2008          341.32              002436     01/29/2008
             01/25/2008          355.06              002431     01/29/2008
             01/25/2008          527.61              002433     01/29/2008
             01/25/2008          588.54              002430     01/29/2008
             01/25/2008          410.47              002425     03/29/2008
             01/25/2008          791.09              002426     03/29/2008
             01/25/2008         1,055.50             002428     03/29/2008
             01/25/2008         1,790.75             002432     03/29/2008
             01/25/2008         1,790.75             002432     03/29/2008
             01/25/2008         1,790.75             002432     03/29/2008
             01/25/2008         1,790.75             002432     03/29/2008
             01/25/2008         1,790.75             002432     03/29/2008
             01/25/2008         2,200.46             002423     03/29/2008
             01/25/2008         2,581.88             002427     03/29/2008
             01/25/2008         3,119.00             002424     03/29/2008
             01/25/2008         1,368.11             002435     03/29/2008
             01/28/2008         1,537.93             002437     03/14/2008
             01/28/2008         1,560.76             002441     03/14/2008
             01/28/2008         1,568.00             002439     03/14/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.93             002438     03/24/2008
             01/28/2008         1,537.95             002438     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/28/2008         1,566.19             002440     03/24/2008
             01/29/2008         1,269.06             002450     03/13/2008
             01/29/2008         2,282.68             002442     03/14/2008
             01/29/2008         2,289.31             002445     03/14/2008



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             Invoice Date   Net Amount                Invoice #    Posting Date
             01/29/2008         2,310.96               002443      03/14/2008
             01/29/2008         2,310.96               002448      03/14/2008
             01/29/2008         2,356.65               002447      03/14/2008
             01/29/2008         2,366.38               002444      03/14/2008
             01/29/2008         2,534.23               002449      03/14/2008
             01/29/2008         2,534.23               002446      03/14/2008
             01/30/2008          308.36                002451      12/15/2008
             01/31/2008        21,023.54              MF485-02     03/14/2008
             02/04/2008        41,551.74              MF451-02     03/14/2008
             02/07/2008       132,178.50              MF499-01     03/14/2008
             02/07/2008       137,959.15              MF498-01     03/14/2008
             02/12/2008        97,270.63              MF465-01     02/22/2008
             02/12/2008       158,533.33              MF513-01     02/22/2008
             02/12/2008       173,311.50              MF501-01     02/22/2008
             02/15/2008       147,230.89              MF409-01     02/22/2008
             02/15/2008       187,901.60              MF452-01     02/22/2008
             02/18/2008       163,323.15              MF503-01     02/22/2008
             02/18/2008        18,770.62              MF496-02     03/17/2008
             02/19/2008       177,140.98              MF426-01     03/14/2008
             02/20/2008         1,234.05               002473      04/01/2008
             02/20/2008          473.17                002470      04/01/2008
             02/20/2008          286.39                002466      04/01/2008
             02/20/2008          300.12                002468      04/01/2008
             02/20/2008          328.00                002472      04/01/2008
             02/20/2008          481.42                002471      04/01/2008
             02/20/2008         1,714.74               002469      04/01/2008
             02/20/2008          527.61                002467      04/01/2008
             02/27/2008        17,167.35              MF462-02     03/14/2008
             02/27/2008       134,140.81              MF511-01     03/14/2008
             02/28/2008        27,040.54              MF481-02     04/09/2008
             02/29/2008       148,391.04              MF510-01     03/14/2008
             03/03/2008       182,118.79              MF504-01     03/17/2008
             03/04/2008       143,617.23            MF514-01 REV   03/17/2008
             03/05/2008          828.55              MF-495-02     03/17/2008
             03/05/2008        22,701.48             MF-495-02     03/17/2008
             03/06/2008        17,456.62              MF484-02     03/17/2008
             03/11/2008       110,426.31             MF5156-01     03/17/2008
             03/11/2008          306.99                002496      03/20/2008
             03/11/2008          344.07                002495      03/20/2008
             03/11/2008          375.66                002499      03/20/2008



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             Invoice Date   Net Amount              Invoice #   Posting Date
             03/11/2008          951.13              002493     03/20/2008
             03/11/2008          194.78              002497     03/20/2008
             03/11/2008          211.28              002501     03/20/2008
             03/11/2008          372.41              002498     03/20/2008
             03/11/2008          379.78              002502     03/20/2008
             03/11/2008         3,170.00             002503     03/24/2008
             03/12/2008          527.62              002511     03/24/2008
             03/13/2008        24,129.80            MF458-02    03/17/2008
             03/13/2008       148,119.70            MF508-01    03/17/2008
             03/17/2008       124,281.28            MF527-01    03/29/2008
             03/19/2008        41,664.45            MF408-02    03/29/2008
             03/25/2008        38,253.99            MF418-02    03/29/2008
             03/25/2008        16,915.42            MF483-02    03/29/2008
             03/25/2008        23,593.94            MF478-02    03/29/2008
             03/25/2008        32,693.63            MF497-02    03/29/2008
             03/31/2008          478.67              002524     04/01/2008
             03/31/2008          478.67              002525     04/01/2008
             03/31/2008         1,828.74             002526     04/01/2008
             03/31/2008        27,344.15            MF482-02    04/09/2008
             03/31/2008        15,783.47            MF465-02    04/11/2008
             03/31/2008          382.53              002527     06/20/2008
             04/03/2008        23,928.98            MF502-02    04/01/2008
             04/08/2008        17,433.30            MF498-02    04/09/2008
             04/16/2008       212,140.65            MF519-01    04/17/2008
             04/16/2008          527.62              002533     05/27/2008
             04/16/2008          547.34              002544     05/27/2008
             04/16/2008          585.79              002542     05/27/2008
             04/16/2008          616.01              002537     05/27/2008
             04/16/2008          616.01              002536     05/27/2008
             04/16/2008          684.68              002535     05/27/2008
             04/16/2008          824.51              002538     05/27/2008
             04/16/2008          824.51              002539     05/27/2008
             04/16/2008          886.25              002534     05/27/2008
             04/16/2008         3,296.88             002540     05/27/2008
             04/16/2008          519.87              002541     08/26/2008
             04/16/2008         1,528.94             002543     12/15/2008
             04/21/2008        23,593.48            MF501-02    04/25/2008
             04/21/2008        86,570.01            MF536-01    04/25/2008
             04/21/2008        66,282.35            MF406-01    04/28/2008
             04/22/2008        20,153.21            MF503-02    04/25/2008



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             Invoice Date   Net Amount              Invoice #   Posting Date
             04/25/2008       393,086.17            MF512-01    05/16/2008
             04/28/2008        14,686.50            MF499-02    04/29/2008
             04/29/2008         1,000.00             002589     06/16/2008
             04/29/2008         1,000.00             002590     06/16/2008
             04/29/2008         1,000.00             002588     06/16/2008
             04/29/2008         1,000.00             002574     06/16/2008
             04/29/2008         1,000.00             002572     06/16/2008
             04/29/2008         1,000.00             002571     06/16/2008
             04/29/2008         1,000.00             002586     06/16/2008
             04/29/2008         1,000.00             002561     06/16/2008
             04/29/2008         1,000.00             002560     06/16/2008
             04/29/2008         1,000.00             002564     06/16/2008
             04/29/2008         1,000.00             002576     06/16/2008
             04/29/2008         1,000.00             002566     06/16/2008
             04/29/2008         1,000.00             002591     06/16/2008
             04/29/2008         1,000.00             002565     06/16/2008
             04/29/2008         1,000.00             002575     06/16/2008
             04/29/2008         1,000.00             002583     06/16/2008
             04/29/2008         1,000.00             002585     06/16/2008
             04/29/2008         1,000.00             002577     06/16/2008
             04/29/2008         1,000.00             002592     06/16/2008
             04/29/2008         1,000.00             002578     06/16/2008
             04/29/2008         1,000.00             002567     06/16/2008
             04/29/2008         1,000.00             002593     06/16/2008
             04/29/2008         1,000.00             002568     06/16/2008
             04/29/2008         1,000.00             002599     06/16/2008
             04/29/2008         1,000.00             002596     06/16/2008
             04/29/2008         1,000.00             002579     06/16/2008
             04/29/2008         1,000.00             002580     06/16/2008
             04/29/2008         1,000.00             002569     06/16/2008
             04/29/2008         1,000.00             002601     06/16/2008
             04/29/2008         1,000.00             002598     06/16/2008
             04/29/2008         1,000.00             002595     06/16/2008
             04/29/2008         1,000.00             002581     06/16/2008
             04/29/2008         1,000.00             002570     06/16/2008
             04/29/2008         1,000.00             002582     06/16/2008
             04/29/2008         1,000.00             002597     06/16/2008
             04/29/2008         1,000.00             002604     06/16/2008
             04/29/2008         1,000.00             002594     06/16/2008
             04/29/2008         1,000.00             002605     06/16/2008



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             Invoice Date   Net Amount               Invoice #   Posting Date
             04/29/2008         1,000.00             002602      06/17/2008
             04/29/2008         1,000.00             002600      06/17/2008
             04/29/2008         1,000.00             002587      06/17/2008
             04/29/2008         1,000.00             002584      06/17/2008
             04/29/2008         1,000.00             002573      06/17/2008
             04/29/2008         1,000.00             002563      06/17/2008
             04/29/2008         1,000.00             002562      06/17/2008
             04/30/2008          458.05              002608      05/14/2008
             04/30/2008          728.63              002611      05/14/2008
             04/30/2008          876.96              002612      05/14/2008
             04/30/2008         1,311.43             002610      05/14/2008
             04/30/2008          262.03              002606      05/14/2008
             04/30/2008          313.86              002609      05/23/2008
             04/30/2008         2,781.37             002607      05/23/2008
             05/08/2008       197,281.74            MF534-01     05/16/2008
             05/12/2008        22,925.49            MF409-02     05/16/2008
             05/13/2008        24,165.56            MF511-02     05/23/2008
             05/13/2008       157,721.20            MF530-01     05/23/2008
             05/13/2008       149,466.27            MF504-01A    05/27/2008
             05/14/2008       165,755.71            MF416-01     05/23/2008
             05/15/2008        33,539.64            MF426-02     05/23/2008
             05/21/2008          348.72              002628      09/08/2008
             05/21/2008          372.03              002629      09/08/2008
             05/21/2008         7,771.63             002627      09/08/2008
             05/21/2008         3,963.18             002624      09/08/2008
             05/21/2008          305.39              002625      09/08/2008
             05/21/2008          377.96              002631      09/08/2008
             05/21/2008          421.23              002630      09/08/2008
             05/21/2008         1,720.48             002626      09/08/2008
             05/27/2008        28,016.59            MF507-02     05/27/2008
             05/27/2008        75,144.69            MF449-02     05/27/2008
             05/27/2008       115,179.68            MF449-03     05/27/2008
             06/04/2008        31,201.12            MF514-02     06/11/2008
             06/04/2008       128,747.12            MF538-01     07/29/2008
             06/06/2008        24,297.53            MF460-02     06/13/2008
             06/06/2008        48,325.90            MF468-02     06/13/2008
             06/11/2008          602.52              002646      06/19/2008
             06/11/2008         1,159.51             002648      06/19/2008
             06/11/2008         1,754.48             002650      06/19/2008
             06/11/2008          601.59              002651      06/20/2008



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             Invoice Date   Net Amount               Invoice #   Posting Date
             06/11/2008           470.84              002647     06/23/2008
             06/11/2008           239.94              002649     09/08/2008
             06/17/2008        19,786.09             MF527-02    06/23/2008
             06/17/2008        53,833.99             MF520-01    06/23/2008
             06/18/2008           336.62              002659     07/21/2008
             06/18/2008           421.23              006660     07/21/2008
             06/18/2008           595.68              002662     07/21/2008
             06/18/2008           185.72              002661     07/21/2008
             06/18/2008           278.58              002661     07/21/2008
             06/18/2008          3,520.00             002658     12/16/2008
             06/19/2008          (519.87)             002664     08/26/2008
             06/24/2008        21,729.20             MF508-02    07/10/2008
             06/24/2008        21,918.60             MF516-02    07/10/2008
             06/24/2008       138,303.19             MF532-01    07/10/2008
             06/24/2008       144,590.91             MF546-01    07/10/2008
             06/30/2008        19,721.92             MF510-02    07/10/2008
             06/30/2008       142,649.53             MF543-01    07/10/2008
                            36,929,775.35




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